                        IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION
IN RE RICHARD M. OSBORNE                                    CASE NO. 17-17361
                  Debtor                                    CHAPTER 11
                                                            JUDGE ARTHUR I. HARRIS

    WITHDRAW MOTION OF RICHARD M. OSBORNE TO REQUIRE ZACHARY B. BURKONS TO
    APPEAR AND SHOW CAUSE WHY HE SHOULD NOT BE HELD IN CONTEMPT AND OTHER
                                   RELIEF
         Richard M. Osborne, Debtor in Possession (“Debtor”) withdraws his motion to the Court to

enter an order pursuant to 11 U.S.C. §362 directing Zachary B. Burkons (“Burkons”) to appear

before this Court and show cause why he should not be held in contempt for an intentional violation

of the automatic stay [Doc. 113].

                                                      Respectfully submitted,
                                                      /s/ Frederic P. Schwieg, Esq.
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                                                      Attorney for Richard M. Osborne

                                          CERTIFICATE OF SERVICE

I hereby certify that a copy of this Motion to Show Cause was electronically transmitted on or about the date filed
via the Court’s CM/ECF system to the following who are listed on the Court’s Electronic Mail Notice list or was
served by U.S. mail, postage prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
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Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
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Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania


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                                                           /s/ Frederic P. Schwieg
                                                           Frederic P. Schwieg




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